 

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRIC OFALASKA

 

 

UNITED STATES OF AMERICA, Case No. 3:19-mj-00209-DMS
Plaintiff
v.
DAVON LYNN SMITH,
Defendant.
AFFIDAVIT IN SUPPORT OF

CRIMINAL COMPLAINT AND ARREST WARRANT

I, JESSICA HAIS, being first duly sworn, hereby depose and state as follows:

INTRODUCTION AND AGENT BACKGROUND

I. Tam a Special Agent (SA) with the Federal Bureau of Investigation (FBI),
and have been since April 2010. In this assignment, I have investigated a number of
violations of United States Code. Iam currently assigned to the Violent Crime Squad in
the FBI Anchorage Field Office, and specifically assigned to work violent crimes against
children investigations, including but not limited to internet crimes against children,
online enticement of children, child pornography possession and distribution, and
commercial sexual exploitation of children. I have also conducted investigations of

human trafficking, civil rights violations, and public corruption. I have conducted and

MAY 15 2019

Case 3:19-mj-00209-DMS Document 1-1 Filed 05/15/19 Page 1 of 11
 

participated in numerous search warrants, arrest warrants, and interviews of people |
involved in various crimes.

2. The statements in this affidavit are based in part on information provided to
me by other law enforcement officers, police reports, and on my own investigation of this
matter, to include interviews with multiple witnesses. I have not included each and every
fact known to me concerning this investigation. I have only set forth the facts that I
| believe are necessary to establish probable cause that a violation of 21 U.S.C. § 841(a)(1)
and (b)(1)(C) has been committed.

FACTS IN SUPPORT OF PROBABLE CAUSE

3. On May 13, 2019, the FBI executed Federal Search Warrant 3:19-MJ-
00207-MMS at 6236 E 12th Ave., Apt. B3, Anchorage, Alaska (hereinafter referred to as
“the residence.”). The residence is rented and occupied by Pahoua Chang. In addition,
multiple witnesses told law enforcement that Davon Lynn Smith lives at the residence
with Chang. One witness specifically noted that Smith and Chang share a bedroom at the
residence. Smith’s address in law enforcement databases is 631 East 22" Ave., Apt. B1,
Anchorage, Alaska.

4, Davon Lynn Smith was observed by FBI surveillance leaving the subject
residence at approximately 2:15pm on May 13, 2019 and walking onto E 12" Ave. As
soon as he entered the street, Smith turned around and walked back towards the subject

residence. As FBI SWAT prepared to make entry into subject residence, Davon Lynn

MAY 15 2019

Case 3:19-mj-00209-DMS Document 1-1 Filed 05/15/19 Page 2 of 11
 

 

Smith was again observed walking out of the front door of subject residence onto E 12"
Avenue towards a silver BMW, Alaska License Plate JNP205, parked on E 12th Ave.
During his approach of this vehicle, but prior to attempting to enter the vehicle, Smith
was detained by FBI SWAT and searched. Multiple witnesses described this vehicle as
belonging to Smith. FBI SWAT officers searched Smith, and recovered a set of keys.
The key ring found on Smith included a BMW car key, a silver Walmart key with the
inscription “66,” and two Sentry keys with the inscription “302” on each key face.
Additionally, $725.00 in cash was found on Smith’s person prior to his transport back to
the FBI for interview.

5. During the search of the residence, FBI agents located a Sentry safe in the
bedroom described by witnesses as having been occupied by Chang and Smith. FBI
agents used one of the Sentry keys from Smith’s key ring to open this safe. Inside the
safe, FBI agents found two clear-colored bags of suspected heroin, as pictured in the
photograph below. This suspected heroin was field tested by FBI agents on May 14,
2019, and both bags tested positive for heroin. Both bags were weighed at the FBI’s
Evidence Control Center (ECC). One bag weighed 47.3 grams and the other bag

weighed 65.6 grams. A scale containing trace amounts of suspected heroin was also

MAY 15 2019 3

Case 3:19-mj-00209-DMS Document 1-1 Filed 05/15/19 Page 3 of 11
 

 

found in the bedroom containing the safe.

 

6. Located in the bedroom closet with the safe were numerous items of male
clothing and shoes. |

7. Pursuant to the search warrant, law enforcement seized and examined a cell
phone belonging to Chang. Located on the phone were numerous text messages between
Chang, identified as Lil Mama, and Smith, identified as Drizzy. In one exchange on
March 30, 2019, Chang was upset with Smith and one of his friends because they were

not cleaning up after themselves in the residence. As part of the ensuing argument that

MAY 15 2919 ‘

Case 3:19-mj-00209-DMS Document 1-1 Filed 05/15/19 Page 4 of 11
er dee

Lil Mama

occurred through text messages, Chang accused Smith of being a heroin dealer on

multiple occasions. A copy of the relevant portion of the text exchange follows:

 
   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

You don’t have a job
Lil Mama Lmao!
Drizzy Lmao
Lil Mama Use fake pay stubs
Drizzy uso funny lol
Drizzy ill always win
Lil Mama Lmao
Lil Mama Heroine seller
Drizzy idk what that is =
' Lil Mama You tryna play stupid
Lil Mama Because you don’t want no cops to read
: this
Lil Mama It’s all good tho
Lil Mama Called me a bitch
Lil Mama Youre the bitch too
Drizzy what i’m to smart i don’t sell drugs lol

 

 

 

'T know from my training and experience that LMAO is an acronym meaning “laughing my ass off.”

MAY 15 2019

 

Case 3:19-mj-00209-DMS Document 1-1 Filed 05/15/19 Page 5 of 11
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Drizzy what do you do ?
Lil Mama Don’t worry
Lil Mama We all know what you do
Drizzy i’m legally imployed
Drizzy nobody but u is saying that lol
Lil Mama By selling illegal drugs ?
Drizzy what do u do again ?
Drizzy where do u work ?
Lil Mama I do nothing
Lil Mama Lmao
Drizzy i forgot lol
Drizzy do u have a Paysinp ? ; got mine .. dou
Lil Mama You can threaten a you want , you’re
Drizzy how do u pay rent at your house?
Lil Mama Go back to your mom
Drizzy i’7m confused ?
Lil Mama You’re homeless
MAY 15 2019

Case 3:19-mj-00209-DMS Document 1-1 Filed 05/15/19 Page 6 of 11

 
 

 

 

 

 

 

Drizzy lol i got 50 racks Imao?
Drizzy ican get a house anytime i want Imao
Lil Mama From selling heroine
Lil Mama Go get a house then
Drizzy Stoooooooooopid

 

 

 

//

H

HI

//

iH

‘//

//

H

//

//

//

 

21 know from my training and experience that a rack is slang for $1000.

 

MAY 15 2019

Case 3:19-mj-00209-DMS Document 1-1 Filed 05/15/19 Page 7 of 11

 
 

 

8. On April 16, 2018, Chang and Smith exchanged text messages about Chang
picking up after Smith and Smith’s belief that Chang had taken money from a pair of
jeans that she had folded and put away for him. Chang screen captured those messages

and saved them to her phone. That screen capture is below:

MAY 15 2019

Case 3:19-mj-00209-DMS Document 1-1 Filed 05/15/19 Page 8 of 11
 

416 ni LTE ED

<O @

Crizzy BO & >

Vv ae
glee Rta be leaving: rete oe
Ro Cre NUE ean Tekaler ee tim a

Palettes falters) ee ror) i belles) ee
_clean.. So if] sae messy area, hm |
“Clean it, Butwith your stupid 40

HCCI OMm Re len Rt cca emcee mae
Gao ere t WK Ibo

 

~ yea i don’t care if it was 4 dollar i
don'trespect athief

sneaky ¢ ass ppl stealing an shit

: don’t give a fuck if it’s a quar ‘ter

  
    

Lain't i” ee re Don’ ee)
a oe ,

     

You re Li respect forr Mo .

and yes ima think: it's you ,. cause
that's our closet... you shouldbe
tryna pretect any money u see or :
find or no about In the house ..
when u see money u should be .
runnin to me to tell me it's in there.
even ift already no. it's there ..

this: ain't bout no respect dumb; ass.
earn, how to use your words ..

: causing someone of stealing « ain't

mo

 

 

 

9, On April 28, 2019, Chang and Smith exchanged messages about Chang
missing money. In response, Smith told Chang that she should store her money in “the

safe.” Chang screen captured that exchange. That message is below:.

MAY 15 2019

 

Case 3:19-mj-00209-DMS Document 1-1 Filed 05/15/19 Page 9 of 11
 

2:28 . wil te @D

 

 

   

<@
brizzy >
€ reposted > |
ok love
wyd

   
    

Cites
BCU Re anes ome

 

just at my mom wit buju

eee eae eT Penns rey reese 4
that | hide in my rere Te rlght ? :

  
   

    

hell na

why

 
 

Ciba ee

Thaven‘t taken any money out

 

smh ... start putting your shit in the ©
safe

   
 

Sis)

Oi AUmIO cra roy Usm iis aS med

 

 

10. During a statement to law enforcement following the search, Smith denied
living in the residence, but said he stayed there occasionally. Smith also denied any

knowledge of the safe.

10.
MAY 15 2019

 

Case 3:19-mj-00209-DMS Document 1-1 Filed 05/15/19 Page 10 of 11
 

nn FDORALEM-GMEEPER WAIT MA. Scone

CONCLUSION

11. Based upon the information above, your affiant submits that there is
probable cause to believe that on May 13, 2019, Davon Lynn Smith possessed with the

intent to distribute 112.9 grams of heroin, in violation of Title 21, United States Code,

pb

JESSICA HAIS
Special Agent
Federal Bureau of Investigation

Sections 841(a)(1) and (b)(1)(C).

Subscribed and sworn to before me this
IS” day of May, 2019

wo f>

Chief United States Magistrate Judge
District of Alaska
Anchorage, Alaska

 

11

Case 3:19-mj-00209-DMS Document 1-1 Filed 05/15/19 Page 11 of 11
